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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS

Joe Hunsinger
Plaintiff Pro-Se’ Case No:

3-21CV0800-¢

V.

Multi Housing Trust LLC.
Defendants

COMPLAINT

1.0 PARTIES
1.1 Joe Hunsinger is a an individual citizen of Texas and a resident of this

District.

1.2 Defendant Multi Housing Trust LLC. is a foreign corporation with its principal
place of business in the State of Florida with an operating address of 5955 NW
105" Ct. #810, Doral, Florida 33178. Miami-Dade County.

1.3. Defendant can be served by their agent Andres Olaya at 5955 NW 105" Ct.
#810, Doral, Florida 33178.

2.0 JURISDICTION AND VENUE

2.1 This court has personal specific jurisdiction pursuant to 28 USC Section 1331
and 47 USC Section 227.

2.2 Supplemental jurisdiction for Plaintiffs state law claims arise under 28 USC
Section 1391(b)(2).

2.3. This Court has personal specific jurisdiction over Defendant because
defendant made calls to Plaintiff in this District.
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3.0 PRELIMINARY STATEMENT

3.1 This is an action for damages brought by an individual consumer for
violations of the TCPA, a federal statute enacted in response to widespread public
outrage about the proliferation of intrusive and nuisance telemarketing practices.

3.2 Senator Hollings, the TCPA’s sponsor, described these call as “the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of be; they hound us until we want to rip
the telephone out of the wall.”

3.3. According to findings by the FCC, the agency congress vested with authority
to issue regulations implementing the TCPA, such calls are prohibited because, as
Congress found, automated or prerecorded telephone calls are a greater nuisance
and invasion of privacy than live solicitation calls.

3.4 The national DNC registry allows consumers to register their telephone
numbers and thereby indicate their desire not to receive telephone solicitations at
those numbers. Plaintiff hereby requests a copy of Defendants DNC Policy.

3.5 The TCPA regulations define “telemarketing” as “the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services.”

3.6 Telemarketing occurs when the context of a call indicates that it was
initiated and transmitted to a person for the purpose of promoting property,
goods, or services.

3.7. Neither the TCPA nor its implementing regulations require an explicit
mention of a good, product, or service - where the implication of an improper
purpose is “clear from the context.”

 
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3.8 In other words, “offers that are part of an overall marketing campaign to sell
property, goods, or services constitute” telemarketing under the TCPA.

3.9 If a call is not deemed telemarketing, a Defendant must nevertheless
demonstrate that it obtained the Plaintiffs prior express consent.

3.10 The FCC has issued rulings and clarified that consumers are entitled to the
same consent-based protections for text messages.

3.11 “Unsolicited telemarketing phone calls or text messages, by their nature,
invade the privacy and disturb the solitude of their recipients.”

3.12 Plaintiff has been harmed by Defendants’ acts because his privacy has been
violated. Plaintiff was subject to annoying and harassing telephone calls (texts)
that constitute a nuisance.

3.13 Telemarketers must obey the prohibitions in the TCPA.

3.14 Telemarketing is defined as “a plan, program, or campaign which is
conducted to induce the purchase of goods or services or charitable contribution
by use of one or more telephones and which involves more than on interstate
telephone call.

3.15 Plaintiff establishes injury in fact, if he or she suffered “an invasion of a
legally protected interest” that is “concrete and particularized” and “actual or
imminent, not conjectural or hypothetical.”

3.16 Plaintiff has the precise harm and infringe the same privacy interests
Congress sought to protect in enacting the TCPA.

3.17 Plaintiffs “express consent” is not an element of Plaintiffs prima facie case,
but is an affirmative defense for which the Defendant bears the burden of proof.

 
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3.18 One single unsolicited marketing text or call is all it takes for a Plaintiff to
have standing and bring suit against a violator of the TCPA.

3.19 The TCPA does not bar all business-related text messaging, but instead,
focuses, in part, on cellular calls and text messages that are for the purpose of
soliciting new or additional business.

3.20 Defendants actions are a pattern and practice over time.

3.21 Defendants, in its alleged violation, was aware of the conduct and allowed it
to continue.

3.22 The impersonal and generic nature of Defendants text message(s),
demonstrate that Defendant utilized an ATDS in transmitting the message.

3.23 Text message advertisements and the use of a short code, support an
inference that the text messages use ATDS.

3.24 Plaintiff has alleged facts sufficient to infer text messages were sent using
ATDS - use of a short code and volume of mass messaging alleged would be
impractical without use of an ATDS.

3.25 Defendant used a “long code” to transmit a text to the Plaintiff. A long code
is a standard 10-digit phone number that enabled Defendant to send SMS text
messages en masse, while deceiving recipients into believing that the message
was personalized. Defendant can copy and past and send hundreds of characters
out with a few clicks.

3.26 Long codes work as follows: Private companies known as SMS gateway
providers have contractual arrangements with mobile carriers to transmit two-way
SMS traffic. These SMS gateway providers send and receive SMS traffic to an from
the mobile phone networks SMS centers which are responsible for relaying those

 
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messages to the intended mobile phone. This allows for the transmission of a
large number of SMS messages to and from a long code.

3.27 Specifically, upon information and belief, Defendant utilized a combination
of hardware and software systems to send the text messages at issue in this case.
The systems utilized by Defendant have the capacity of store telephone numbers
and to dial such number from a list.

3.28 Defendants unsolicited calls/text message(s) caused Plaintiff actual harm,
including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
trespass, and conversion. Defendants text messages also inconvenienced Plaintiff
and caused disruption of his daily life.

3.29 Unwanted “Robocalls” are the number one complaint in America today.
Americans received over xxx billion robocalls just last month.

3.30 Plaintiff estimates he has received tens of thousands of unauthorized and
unwanted text messages in his lifetime from telemarketers. Some have been
from repeat violators and some have been from single call/text violators. The
Bureau of Labor Statistics tells us there are 134,800 telemarketers in the USA. If
this information is correct American consumers could quite possibly receive
369.31 calls per day and we have to tell the telemarketers is to place us on their
do not call list and we won’t hear from them in another 12 months, and then
process begins all over again? Plaintiff does not want to have his phone ring or
text 369.31 times a day from telemarketers. Plaintiff does not even want one
telemarketer to call him. There is a reason they say we as a nation may disagree
on many issues, but when it comes to unwanted telemarketing (Robocalls/texts)
we all agree that we do not like them.

3.31 The contempt from Senator Hollings was he even wanted to do away with all
telemarketers, period. Plaintiffs pleading as mentioned above are clear and give
an insight on where Plaintiff set of mind. How he wants to left alone and
unbothered by telemarketing calls/texts.
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3.32 The do not call provisions of the TCPA cover any plan, program or campaign
to sell goods or services through interstate phone calls. This includes calls by
telemarketers who solicit consumers, often on behalf of third party sellers.

3.33 The TCPA has a “safe harbor” for inadvertent mistakes. If a telemarketer
can show that, as part of its routine business practice, it meets all the
requirements of the safe harbor, it will not be subject to civil penalties or
sanctions for mistakenly calling a consumer who has asked for no more calls, or
for calling a person on the registry.

3.34 Plaintiffs complaint seeks money damages and injunctive relief from
Defendants illegal conduct.

3.35 This private cause of action is a straight forward provision designed to
achieve a straightforward result. Congress enacted the law to protect against
invasions of privacy that were harming people. The law empowers each person to
protect his own personal rights. Violations of the law are clear, as is the remedy.

3.36 The TCPA was enacted to prevent companies like Defendant from invading
Plaintiffs’ privacy as explained in paragraph 3.27 and 3.28.

3.37 Defendant(s) uses telemarketing to obtain new customers.

3.38 If Defendant(s) want to avoid a TCPA lawsuit, all they have to do is not break
the laws in the TCPA.

4.0 VICARIOUS LIABILITY
4.1 At all times relevant the the events giving rise to this lawsuit, Defendant
acted through its agents and is therefore liable for such actions pursuant of
vicarious liability principles.
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4.2 Whenever it is stated herein that Defendant engaged in any act or omission,
the statement includes the acts or omissions by Defendant, its agents, its
employees, its representatives and others with actual or apparent authority to act
on behalf of and bind the Defendant.

5.0 QUESTIONS OF LAW

5.1 There are well defined and nearly identical questions of law and fact that
affect all parties. Such common questions of law and fact include, but are not
limited to, the following:

5.2 Whether Defendant(s) placed such telephone calls to the Plaintiff;

5.3. Whether Defendant(s) TCPA violations and conduct was knowing
and/or willful:

5.4 Whether Defendant(s) can meet their burden of showing that they
clearly and unmistakably obtained “prior express consent” to make
such calls/texts to the Plaintiff;

5.5 Whether Defendant(s) are liable for damages to the Plaintiff, as well as
the amount to of such damages;

5.6 Whether Defendant(s) identified themselves to the Plaintiff or if
their agents identified the entity on whose behalf the call/text was
being made;

5.7. Whether Defendant(s) sent Plaintiff their DNC policy when it was
requested;

5.8 Whether Defendant(s) uses telemarketing to obtain new customers;

5.9 Whether Defendant(s) have a written DNC policy;

5.10 Whether Defendant(s) written DNC policy was shared with anyone
“on demand.”;
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5.11 Whether Defendant(s) can prove they trained their employees about
the telemarketing rules and laws set in place;

5.12 Whether Defendant(s) have maintained a list of persons that they may
not contact;

5.13 Whether Defendant(s) have a process in place to prevent phone calls
to either numbers on the National Do Not Call List or numbers on the
telemarketers internal do not call list;

5.14 Whether Defendant(s) have a process in place to monitor calls to

prevent violations of the do not call list;

5.15 Whether Defendant(s) have maintained an errant list of all call that

violate the do not call regulations;

5.16 Whether Defendant(s) can prove they used TCPA compliant vendors;

5.17 Whether Plaintiff opted out of receiving calls/texts from Defendant.

5.18 Whether Defendant(s) honored Plaintiffs opt out/stop request.

5.19 Whether Defendant(s) had reason to know, or should have known that
its conduct would violate the statute.

5.20 Whether Plaintiff is entitled to injunctive relief;

5.21 Whether Defendant(s) should be enjoined from engaging in such
mentioned conduct in the future;

5.22 Common questions in this case have common answers.

 
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6.0 FACTUAL ALLEGATIONS

MULTI HOUSING TRUST LLC.
6.1 On Tuesday February 18, 2020 at 2:13 PM Plaintiff received one
unauthorized and unwanted telemarketing text message to his cell phone ending
in 7677 from Defendant or their agent form phone number 830-490-0338. The
sender of the text message identified himself as Ben.

6.2 On Thursday May 14, 2020 at 12:30 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 469-678-8174. The sender of the
text message identified himself as Ben.

6.3 On Monday October 19, 2020 at 12:00 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 281-399-4663. The sender of the
text message identified himself as Ben. This text message is almost identical to
the one sent on May 14, 2020.

6.4 Plaintiff, wanting to investigate his claim against the telemarketer, followed
the telemarketers cues to find out their identity.

6.5 On Monday October 19, 2020 at 1:05 PM Plaintiff responded back to “Ben”
to find out who he was or the company he was working for.

6.6 On Monday October 19, 2020 at 8:45 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 972-454-4374. The sender of the
text message identified himself as Andres.

6.7 On Monday October 19, 2020 at 8:46 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 972-454-4374.
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6.8 On Monday October 19, 2020 at 8:48 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 972-454-4374. The sender of the
text message identified himself as Andres.

6.9 Plaintiff did not outright ask Ben or Andres who he was working for or his
company name, because doing so would have risked him breaking off the
communication and disappearing. Of all the freaking junk Plaintiff has gone
through with telemarketers, never, not one time, has a telemarketer given their
true identity (to their legally registered business in the US) to Plaintiff. One time,
a few years ago, a telemarketer did give Plaintiff their business name and phone
number and website and agents name and supervisor name and was actually
passed on to the supervisor who took Plaintiffs call. They answered all of Plaintiffs
questions without any hesitation. They were an web hosting / promotion company
in South America.

6.10 Plaintiff is informed and believes and therefore alleges that texts that
Defendant placed to him were made using an automatic telephone dialing
system.

6.11 Plaintiff received an email with a contract showing the buyers as Multi
Housing Trust LLC. out of Florida, registered to Andres Oyala. Andres Oyala signed
the contract. After Plaintiff obtained the true identity behind the illegal texts
messages alleged in this action, Plaintiff blew off the Defendant.

6.12 Plaintiff, searching on the Texas Secretary of State’s website [and paying
their search fees], found Defendant to be registered as a foreign LLC. In the State
of Florida. Defendant also uses 4447 N Central Expressway Ste 110, Dallas, Texas
75205. This address is a UPS mailbox scheme.
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6.13 Plaintiff searched Defendant on Pacer [and also paid their fees to search and
look at pleadings] and did not find other complaints against the Defendant for
violations of the TCPA.

6.14 Plaintiff consulted with an attorney about this action and paid his
consultation fees.

6.15 Plaintiff, at no time, gave Defendant his “express consent” to be contacted
by text messages.

6.16 Part of Plaintiffs discovery will will be finding out if Defendant has a
company wide pattern or practice of engaging in the alleged illegal practices at
issue in my case. Plaintiff is proffering that a number of similar incidents have
occurred around the country to other everyday people.

6.17 In this alleged action, it is the Plaintiffs belief the Defendant uses long codes
to run his telemarketing campaign to text people from a phone number and if
they don’t respond he (they) is back at it contacting the same people who did not
respond with a new number.

6.18 The text placed by the Defendant was not necessitated by an emergency.

6.19 Defendants calls were transmitted to Plaintiffs cellular telephone, and within
the time frame relevant to this action.

6.20 Defendant and/or their agents failed to properly identify themselves as
required by the TCPA.

6.21 Plaintiff is not a customer of Defendant and has not provided defendant with
his personal information or telephone number, or sought out solicitation from the
Defendant or their agents.
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6.22 It is Defendants burden to prove they has “express consent” per the TCPA to
call the Plaintiff on his cell phone using an “automatic telephone dialing system.”

6.23 At no time did Plaintiff provide prior express written consent, or even prior
permission, for the Defendant or their agents to call/text the Plaintiff.

6.24 Plaintiff does not have and has never had an established business
relationship with the Defendant.

6.25 The text received by the Plaintiff from the Defendant or their agent was for
the purpose of encouraging the purchase of rental of, or investment in, property,
goods, or services. The call therefor qualifies as telemarketing.

6.26 Plaintiff is the subscriber of phone number ending in 7677 and is financially
responsible for phone service to said number.

6.27 Plaintiff's phone number ending in 7677 is primarily used for personal,
family, and household use.

6.28 Upon information and belief, Defendants calls harmed the Plaintiff by
causing the the very harm that Congress sought prevent - that is the “nuisance
and invasion of privacy” and a Plaintiff suffered a concrete and particularized
harm.

6.29 Upon information and belief, Defendants texts harmed Plaintiff by intruding
upon Plaintiffs seclusion, lost time attending to unwanted and unauthorized calls,
decreased phone battery life, need for more frequent re-charging of the battery,
annoyance, and frustration.

6.30 As a result of Defendant illegal conduct, Plaintiff is entitled to $500 in
damages for each such violation of the TCPA. This is for each and every violation,
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whether Defendant committee multiple violations with a single text. The number
of texts are irrelevant.

7.0 STANDING

7.01 Standing is proper under Article Ill of the Constitution of the United States of
America because Plaintiff's claims state: (a) a valid injury in fact; (b) which is
traceable to the conduct of Defendant; and (c) is likely to be redressed by a
favorable judicial decision.

7.02 Plaintiff’s injury in fact must be both “concrete” and “particularized” in order
to satisfy the requirements of Article Ill of the Constitution.

7.03 For an injury to be “concrete” it must be a de facto injury, meaning that it
actually exists. In Plaintiffs case, Defendant sent a text messages to Plaintiff's
cellular telephone, using an ATDS. Such text messages are a nuisance, an
invasion of privacy, and an expense to Plaintiff. All three of these injuries are
concrete and de facto.

7.04 For an injury to be “particularized” means that the injury must “affect the
Plaintiff in a personal and individual way.” In Plaintiffs case, Defendant invaded
Plaintiffs privacy and peace by texting his cellular telephone, and did this with the
use of an ATDS. Furthermore, Plaintiff was distracted and annoyed by having to
take time, opening and reading the text message. All of these injuries are
particularized and specific to Plaintiff.

7.05 Plaintiffs case passes The “ Traceable to the Conduct of Defendant” Prong.

7.06 The second prong to establish standing at the pleadings phase is that
Plaintiff must allege facts to show that its injuries are traceable to the conduct of
Defendant. The above text message was directly and explicitly linked to
Defendant. The number from which the text was sent belongs to Defendant. This
text message is the sole source of Plaintiff's and the Class’s injuries. Therefore,

 
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Plaintiff has illustrated facts that show that her injuries are traceable to the
conduct of Defendant.

7.07 Plaintiffs case passes the “ Injury is Likely to be Redressed by a Favorable
Judicial Opinion” Prong,

7.08 The third prong to establish standing at the pleadings phase requires
Plaintiff to allege facts to show that the injury is likely to be redressed by a
favorable judicial opinion In the present case, Plaintiff's Conclusion include a
request for damages for each text message made by Defendant, as authorized by
statute in 47 USC. Section 227. The statutory damages were set by Congress and
specifically redress the financial damages suffered by Plaintiff.

7.09 Plaintiff, under his 14 Amendment rights, has right to bring this action to be
heard in front of a jury.

7.10 Because all standing requirements of Article Ill of the US Constitution have
been met, Plaintiff has standing to sue Defendant on the stated claims.

COUNT 1

8.01 Plaintiff re-alleges and incorporates the above paragraphs.

8.02 Defendant violated 47 USC Section 227(b)(1)(A)(iii) by placing (non
emergency) solicitation texts to the Plaintiff.

8.03 Defendant must pay Plaintiff $500 for each text (six) placed to Plaintiff.

COUNT 2

9.01 Plaintiff re-alleges and incorporates the above paragraphs.

9.02 Defendant transmitted six solicitation texts to Plaintiffs cellular phone
number, which was registered on the Do Not Call registry, violating 47 CFR
Section 64.1200(c).
 

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9.03 Defendant must pay Plaintiff $500 for each text placed to Plaintiff.

COUNT 3

10.01 Plaintiff re-alleges and incorporates the above paragraphs.

10.02Defendant knew or should have know that Plaintiff had not given express
consent to receive its texts messages violating USC Section 227(b)(3)(C).

10.03 Defendant must pay Plaintiff $500.

COUNT 4

11.01 Plaintiff re-alleges and incorporates the above paragraphs.

11.02 Defendant transmitted a text to the Plaintiff, despite the fact that Plaintiffs
phone number is listed on the DNC list, a violation of USC Section 227(c).

11.03 Defendant must pay Plaintiff $500.

COUNT 5

12.01 Plaintiff re-alleges and incorporates the above paragraphs.

12.02 Defendant transmitted more than one text to the Plaintiff, a violation of USC
Section 227(c)(5)(B).

12.03 Defendant must pay Plaintiff $500 for each text (six) placed to the Plaintiff.

COUNT 6

13.01 Plaintiff re-alleges and incorporates the above paragraphs.
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13.02Defendant spoofed their caller id. The phone numbers on displayed on
Plaintiffs caller id were long codes. Plaintiff cannot call Defendants long code and
speak to someone. A violation of 47 CFR Section 64.1601(4)(e).

13.03Defendant failed to provide a call back number in the initial text message.
A violation of 47 CFR Section 64.1200(b)(2).

13.04Defendant must pay Plaintiff $500.

COUNT 7

14.01 Plaintiff re-alleges and incorporates the above paragraphs.

14.02Defendant made calls to Plaintiffs phone ending in 7677 intentionally or
knowingly and the calls were not accidental.

14.03Pursuant to TBCC Section 305.053, Plaintiff sues here for monetary
damages.

140.4Pursuant USC Section 227(c)(5) and 47 CFR Section 64.1200(a)(2), treble
the $500 statutory damages to be recoverable by Plaintiff against the Defendant
to $1500 for each transmitted text Defendant placed and for violating the the
DNC request.

14.05Defendant must pay Plaintiff $1500 for each violation and text transmitted
to Plaintiff.

COUNT 8

15.01 Plaintiff re-alleges and incorporates the above paragraphs.

15.02Pursuant to 47 USC Section 227(b)(3)(A) and TBCC Section 305.053, the
court following the trial of this action should issue an order permanently enjoining
 

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Defendant and its agents from engaging in any further conduct with respect to
Plaintiff which violates the rules and regulations of 47 USC Section 227.

COUNT 9

16.01 Plaintiff re-alleges and incorporates the above paragraphs.

16.02 Defendant intentionally intruded on Plaintiffs solitude, seclusion, and private
affairs by transmitting unwanted telemarketing calls to his cellular phone.
Defendants intrusion would be highly offensive to a reasonable person.

16.03The repeated autodialed calls to Plaintiffs cellular phone have caused him
emotional harm and distress, frustration, aggravation, wasted time, a nuisance
and other losses.

16.04 Plaintiff seeks to recover actual damages, including his damages for mental
anguish, to be proven at trial. Mental anguish is one of the torts for which Plaintiff
can recover mental-anguish damages without proving physical injury.

TRIAL BY JURY

17.01Plaintiff demands a trial by jury under the 7° Amendment of the US
Constitution.

CONCLUSION
Plaintiff has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n which
pretty much establishes the conduct for attorneys and references abusive
litigation tactics from attorneys conduct. Plaintiff believes if Defendant would
read Dondi and instruct their attorney to send copies of the filings and emails
between the Plaintiff and Defendants attorney, this would keep the Defendants
attorney from “poking a stick at Plaintiffs ribs” just to upset him and try to prolong
the hours he will be charging his client.

 
 

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Plaintiff requests a copy of Defendants Do-Not-Call Policy to be sent to Plaintiffs
address below.

Plaintiff requests everything he has asked for in his Complaint and other relief as

the Court deems necessary.

Cz
Joe Hunstogf - Pro se
7216 CF Hawn Frwy.

Dallas, Texas 75217
214-682-7677
joe75217@gmail.com
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€ Details

OPTIONS

Notifications
App settings

Block & report spam

1 PERSON

(+) Add people

ce (830) 490-0338

 

 

 

 
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€ (830) 490-.. TH &% :

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contacts

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Tuesday, Feb 18 « 2:13 PM

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properties nearby

| can buy Maybe
you've thought

of selling 8731
Wadlington Ave? -Ben

Feb 18, 2:13 PM

G) [#5 | Text QO sv,

 

 

 

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Corporations Section

P.O.Box 13697 Ruth R. Hughs

 

 

 

 

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Office of the Secretary of State
Packing Slip
October 20, 2020
Page 1 of 1
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joe hunsinger
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Dallas, TX 75217
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Client ID: 399368755 Return Method: Email
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Total Fees: $1.03
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Total: $1.03
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DOCUMENT# L18000134990 Feb 10, 2020
Secretary of State
Entity Name: MULTI HOUSING TRUST LLC
J 7353378208CR
Current Principal Place of Business:
5955 NW 105TH CT
810

DORAL, FL 33178

Current Mailing Address:

5955 NW 105TH CT
810
DORAL, FL 33178 US

FEI Number: XX-XXXXXXX Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:

OLAYA, ANDRES
5955 NW 105TH CT
810

DORAL, FL 33178 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.
SIGNATURE: ANDRES OLAYA 02/10/2020

Electronic Signature of Registered Agent Date

 

Authorized Person(s) Detail :

Title AMBR

Name OLAYA, ANDRES

Address 5955 NW 105TH
810

City-State-Zip: DORAL FL 33178

| hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that | am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: ANDRES OLAYA AMBR 02/10/2020

Electronic Signature of Signing Authorized Person(s) Detail Date

 

 
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INSPECTION AND CLOSE OUT OF BUILDING PERMITS & LIENS:

Buyer may have an inspection and examination of records and documents made to determine whether there
exists any open or expired building permits or unpermitted improvements to the property (Permit Inspection).
Buyer shall, within the inspection period, deliver notice to the seller of the existence of any open or

expired building permits, unpermitted improvements to the property or liens. Prior to closing, seller shall remedy

or close any open permits, unpermitted improvements or liens and present written notice to buyer.

SETTLEMENT: The following expenses will be paid at closing:

Expenses payable by Buyer: Title search charges; municipal lien search; appraisal fees; survey fees; loan application fees;
origination charges; credit reports; preparation of loan documents; interest on the notes from date of disbursement to one
month prior to dates of first monthly payments; recording fees; copies of easements and restrictions; loan title policy with
endorsements required by lender; loan-related inspection fees; photos; amortization schedules; option funds of $50; one-
half of escrow fee; all prepaid items, including required premiums for flood and hazard insurance, reserve deposits for
insurance, ad valorem taxes and special governmental assessments; final compliance inspection; courier fee; repair
inspection; underwriting fee; wire transfer fee; expenses incident to any loan; Private Mortgage Insurance Premium
(PMD), VA Loan Funding Fee, or FHA Mortgage Insurance Premium as required by the lender; and other expenses
payable by Buyer under this contract. Expenses payable by Seller: Releases of existing liens, including prepayment
penalties and recording fees; tax statements and documentary stamp taxes; HOA estoppel fees; owner's policy;
preparation of deed; one-half of escrow fee.

DEFAULT: If Buyer fails to comply with this contract, Buyer will be in default, and Seller may terminate this contract and
receive the earnest money as liquidated damages, thereby releasing both parties from this contract. If Seller fails to comply
with this contract, Seller will be in default and Buyer may (a) enforce specific performance, seek such other relief as may be
provided by law, or both, or (b) terminate this contract and receive the earnest money, thereby releasing both parties from
this contract. In the event of litigation arising out of this contract, the prevailing party shall be entitled to recover from the
non-prevailing party all reasonable attorney's fees and costs.

TIME FOR ACCEPTANCE: This instrument will become a binding contract when accepted by the Seller and signed
by both Buyer and Seller.

CLOSING: The closing of the sale will be on or before. 12.11.2020 . If Seller is unable to deliver clear
and marketable title by that date, closing will automatically be extended to on or before 15 days post clear titleissuance.

OTHER AGREEMENTS:
Property to be sold in AS-IS Condition, All Cash
Buyer to pay Seller's usual and customary closing costs including title, insurance and Doc Stamps

 

 

 

 

 

 

 

 

 

Seller: Date: Phone:
Seller: . = Date: Phone:
Buyer: a yen Date: 10.19.2020 Phone:
Buyer: Date: Phone:

 

PG. 3 OF 3

 

 

 
   

JS 44 (Rev. 10/20) - TXND (10/20) IVIL L COVER SH 5 HEE CR] =) INT A
The JS 44 civil coe ant sate en 1-00 80st ein renee WES} nor Zupplelh st the filirig an davict oO Safes & other aE, elp.e8 law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
JOE HUNSINGER MULTI HOUSING TRUST LLC.

 

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed,

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLA
NOTE: INLAND CONDEMNATION
THE TRACT OF LAND INV
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

PRO-SE

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III. CITIZENSHIP OF PRINCIPAL

3-21CV

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

 

 

 

(For Diversity Cases Only)

and One Box for Defendant)

[_]1 U.S. Government [*]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [%] 1 [J] 1 Incorporated or Principal Place [14 (14
of Business In This State
[_]2 U.S. Government (]4_ Diversity Citizen of Another State (]2 [] 2. Incorporated and Principal Place Lis [xs
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a (13 (J 3. Foreign Nation [le (Je
Foreign Country

 

A NATURE OF ue tee an “X" in ed Bak Only)

110 Insurance PERSONAL INJURY PERSONAL INJURY
120 Marine 310 Airplane CO 365 Personal Injury -
130 Miller Act 315 Airplane Product Product Liability
140 Negotiable Instrument Liability C 367 Health Care/
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
151 Medicare Act | 330 Federal Employers’ Product Liability
152 Recovery of Defaulted Liability C 368 Asbestos Personal
Student Loans 340 Marine Injury Product
(Excludes Veterans) 345 Marine Product Liability
| 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending
[| 190 Other Contract Product Liability im 380 Other Personal

195 Contract Product Liability
196 Franchise

:

Property Damage
oO 385 Property Damage
Product Liability

T 360 Other Personal

Injury
362 Personal Injury -

| 1625 a Related Seizure
of Property 21 USC 881
| }690 Other

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ee
LABOR

710 Fair Labor Standards
Act

| _]720 Labor/Management

Relations

740 Railway Labor Act
751 Family and Medical

 

220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
[_]290 All Other Real Property

 

441 Voting 463 Alien Detainee
442 Employment 510 Motions to Vacate
443 Housing/ Sentence

[| 530 General
[| 535 Death Penalty

Accommodations
445 Amer. w/Disabilities -

Employment Other:
446 Amer. w/Disabilities - 540 Mandamus & Other
Other 550 Civil Rights

448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of

Confinement

 

 

Medical Malpractice Leave Act
REAL PROPERTY TT PRISONER PETITIONS |_]790 Other Labor Litigation
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _]791 Employee Retirement

Income Security Act

462 Naturalization Application
465 Other Immigration

Actions

 

= 422 Appeal 28 USC 158

Descriptions.

 

375 False Claims Act
376 Qui Tam (31 USC

r

| | 423 Withdrawal

 

 

 

 

28 USC 157 3729(a))
400 State Reapportionment
ERTY RIGHTS _ 410 Antitrust
a a CORE |_| 430 Banks and Banking
| | 830 Patent |_| 450 Commerce
|_| 835 Patent - Abbreviated 460 Deportation
New Drug Application a 470 Racketeer Influenced and
[ | 840 Trademark Corrupt Organizations
_] | 880 Defend Trade Secrets | 480 Consumer Credit
Act of 2016 (15 USC 1681 or 1692)
| x | 485 Telephone Consumer
— SOCIAL SECURIT: Protection Act
861 HIA (1395ff) 490 Cable/Sat TV
862 Black Lung (923) 850 Securities/Commodities/
863 DIWC/DIWW (405(g)) |__ Exchange
864 SSID Title XVI 890 Other Statutory Actions

865 RSI (405(g)) 891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

|_| 950 Constitutionality of

State Statutes

 

 

 

870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party
26 USC 7609

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

| Original
+ Proceeding

2 Removed from
State Court

3 Remanded from

Appellate Court

4 Reinstated or 5 Transferred from
C O Another District

(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
O Litigation -
Direct File

 

 

 

28 USC SECTION 133] AND 47 USC SECTION 227
VI. CAUSE OF ACTION Brief description of cause:
VIOLATIONS OF THE TCPA
VII. REQUESTED IN ~~ [|] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [klYes [No
VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATUR TTORNEY OF RECORD
71-2\ a) yy
FOR OFFICE USE ONLY -~
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
